       Case 2:13-cv-02288-DDC-TJJ Document 30 Filed 11/25/14 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

 MATTHEW KALEBAUGH,
                                       Plaintiff,

 v.                                                 Case Number: 2:13-cv-02288 KHV/DJW

 BERMAN & RABIN P.A.,

                                   Defendant.


                               STIPULATION OF DISMISSAL

       Plaintiff and Defendant file this stipulation of dismissal under Federal Rule of Civil

Procedure 41(a)(1)(A)(ii).

       1.      Plaintiff is Matthew Kalebaugh; Defendant is Berman & Rabin P.A.

       2.      On May 22, 2013, Plaintiff filed a Petition against Defendant in the District Court

of Wyandotte County, Kansas.

       3.      On June 14, 2013, Defendant removed the case to the United States District Court

for the District of Kansas (Doc. 1).

       4.      On June 21, 2013, Defendant filed an Answer (Doc. 3).

       5.      Plaintiff now moves to dismiss the suit.

       6.      Defendant agrees to the dismissal.

       7.      This case is not a class action.

       8.      A receiver has not been appointed in this case.

       9.      This case is not governed by any federal statute that requires a court order for

dismissal of the case.

       10.     Plaintiff has not previously dismissed any federal- or state-court suit based on or
       Case 2:13-cv-02288-DDC-TJJ Document 30 Filed 11/25/14 Page 2 of 2




including the same claims as those presented in this case.

       11.     This dismissal is with prejudice to refiling.

       12.     Each party is to bear its own fees and costs.

                                              Respectfully submitted,




                                              By: /s/ A.J. Stecklein
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